 Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 1 of 13



                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION
LEAGUE OF UNITED LATIN AMERICAN        §
 CITIZENS, et al.,                     §
                                       §
 Plaintiffs,                           §
                                       §
                                                  Case No. 3:21-cv-00259
V.                                     §
                                                       [Lead Case]
                                       §
GREG ABBOTT, et al.,                   §
                                       §
 Defendants.                           §
                                       §

     LEGISLATORS’ MOTION TO QUASH OR MODIFY PRIVATE PLAINTIFFS’
      DEPOSITION SUBPOENAS AND MOTION FOR PROTECTIVE ORDER
    Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 2 of 13



                                             INTRODUCTION

        Private plaintiffs in these consolidated cases join the United States in the pursuit to depose

three sitting legislators before deposing anyone else. The legislators already moved to quash or modify

subpoenas served by the United States, or in the alternative for a protective order. ECF 259 (“Mot.”);

ECF 277 (“Reply”). For the same reasons, the legislators request the same relief for subpoenas served

by the private plaintiffs, which seek to depose the same legislators on the same dates. See Ex. A (Rep.

Guillen subpoena); Ex. B (Rep. Landgraf subpoena); Ex. C (Rep. Lujan subpoena). The legislators’

privilege arguments are no more “remarkable”1 than binding Supreme Court precedent on the subject

or decisions by courts of appeals abiding by that precedent. Legislative privilege and immunity safe-

guard the legislative process—safeguards “so essential” that they were written into state and federal

constitutions. Tenney v. Brandhove, 341 U.S. 367, 372-75 (1951). Legislators engaged “in the sphere of

legitimate legislative activity” are protected “not only from the consequences of litigation’s results but

also from the burden of defending themselves.” Dombrowski v. Eastland, 387 U.S. 82, 85 (1967). For

that reason, even in cases involving allegations of intentional discrimination, other courts of appeals

have “concluded that the plaintiffs are generally barred from deposing legislators, even in ‘extraordi-

nary circumstances.’” Lee v. City of Los Angeles, 908 F.3d 1175, 1187-88 (9th Cir. 2018); accord Am.

Trucking Ass’n, Inc. v. Alvitti, 14 F.4th 76, 90-91 (1st Cir. 2021); In re Hubbard, 803 F.3d 1298, 1315 (11th

Cir. 2015).

                                              BACKGROUND

        Private plaintiffs brought the following suits, since consolidated, to enjoin redistricting legis-

lation for congressional, senate, house, and/or State Board of Education (SBOE) districts:

    •   The LULAC plaintiffs (3:21-cv-259) challenge congressional, senate, house, and SBOE re-
        districting legislation. LULAC Second-Am. Compl., ECF 237. Among other allegations, they
        allege that legislation violates §2 of the VRA and the Fourteenth Amendment for failing to
        maximize majority-Latino house and congressional districts in certain locales and for

1   Pls. Opp’n to Legislator’s Mot. to Quash United States’ Subpoenas 2, ECF 272 (“Pls. Opp’n”).



                                                     1
Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 3 of 13



    weakening Latino voting strength in HD 31, 37, 90, and 118. Id. ¶¶7, 134-40, 142-45, 163-68.
    Their complaint also includes a malapportionment claim for house districts in West Texas,
    while averring that the aggregate population deviation of the house plan is less than 10%. Id.
    ¶¶148-50, 182-85; but see Brown v. Thomson, 462 U.S, 835, 842 (1983) (“apportionment plan with
    a maximum population deviation under 10% falls within this category of minor deviations”);
    White v. Regester, 412 U.S. 755, 764 (1973) (“we cannot glean an equal protection violation from
    the single fact that two legislative districts in Texas differ from one another by as much as
    9.9% when compared to the ideal district”). Defendants have until May 18, 2022, to answer
    or move to dismiss.

•   The MALC plaintiffs (1:21-cv-988) challenge congressional, house, and SBOE redistricting
    legislation. MALC First-Am. Compl., ECF 247. With respect to congressional districts, MALC
    challenges CD 15 and 23, even though both districts exceed 50% HCVAP. Id. ¶¶156, 160.
    MALC also alleges that certain Dallas/Tarrant and Harris County districts should be redrawn
    to increase Latino voting strength. Id. ¶¶163-66. With respect to house districts, MALC chal-
    lenges the failure to add opportunity districts in different locales and the configuration of El
    Paso house districts, mirroring the United States’ allegations. Id. ¶¶89-97. MALC also chal-
    lenges HD 31, 37, 80, 90, 118, and 145, all of which MALC avers maintain HCVAP exceeding
    66%, 77%, 77%, 49%, 56%, and 55% respectively. Id. ¶¶101, 110, 117, 126, 131, 140; see also
    id. ¶120 (conceding that legislation “would not make HD 80 unwinnable by the Latino/Spanish
    language community candidate of choice” (emphasis added)). MALC further alleges that the
    number of majority-Latino congressional, house, and senate districts is disproportionate to
    the Latino citizen voting age population. Id. ¶¶167, 176-79; but see 52 U.S.C. §10301(b) (“noth-
    ing in this section establishes a right to have members of a protected class elected in numbers
    equal to their proportion in the population”). The complaint concludes that the congressional,
    house, and SBOE districts violate §2 and the Fourteenth and Fifteenth Amendments, id.
    ¶¶238-45, and that house districts are unconstitutionally malapportioned, id. ¶¶246-49. De-
    fendants have until May 18, 2022, to answer or move to dismiss.

•   The Brooks plaintiffs (1:21-cv-991) challenge changes to SD 10, as well as HD 54, 55, and
    118, and congressional districts in Dallas/Fort Worth and Houston. Brooks First-Am. Compl.,
    ECF 236. The complaint alleges that SD10, HD 54, HD55, and HD 118 violate §2 of the VRA
    and the Fourteenth and Fifteenth Amendments, id. ¶¶211-26, 236-52, and that the failure to
    create a congressional coalition district and another majority-Latino congressional district vi-
    olates §2, id. ¶¶227-35. This Court denied plaintiffs’ preliminary injunction motion regarding
    SD 10. ECF 176, 258. Defendants have until May 18, 2022, to answer or move to dismiss.

•   The Voto Latino plaintiffs (1:21-cv-965) allege that congressional and house redistricting
    legislation violates §2. Voto Latino First-Am. Compl., ECF 235. The complaint does not in-
    clude intentional discrimination claims. Id. ¶¶155-63. They challenge the resulting concentra-
    tion of Latino voters in CD 15, 16, 20, 21, 23, 27, 28, 34, and 35 as either too high or too low.
    Id. ¶¶78-89. They fault the legislation for failing to create additional majority-minority or coa-
    lition districts in Dallas, Houston, and Tarrant County, id. ¶¶90-101, and for failing to disperse
    (and thereby maximize) Latino votes in Harris County, id. ¶¶102-06. Defendants have until
    May 18, 2022, to answer or move to dismiss.

•   The Texas State Conference of the NAACP (1:21-cv-1006) has filed a complaint premised
    on the theory that redistricting legislation can violate §2 for failure to maximize voting strength



                                                2
  Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 4 of 13



       for “people of color” generally, or “POC CVAP.” NAACP Compl. ¶¶27-28, No. 1:21-cv-
       1006, ECF 1. The complaint alleges in conclusory terms that “[t]he vast majority of voters of
       color in Texas vote cohesively” and that §2 prohibited “add[ing] more white voters” to dis-
       tricts. Id. ¶¶96, 101. Reciting the number of representatives by race, the complaint alleges that
       myriad senate, house, and congressional districts with majority “POC CVAP” are dispropor-
       tionate to the overall population. Id. ¶¶106-204; but see 52 U.S.C. §10301(b) (disclaiming pro-
       portionality as basis for claim). The complaint concludes that senate, house, and congressional
       redistricting legislation violates §2 and the Fourteenth and Fifteenth Amendments, including
       for failure to create “minority coalition districts.” Id. ¶¶205-30. Defendants’ motion to dismiss,
       including for lack of standing and for failure to state a claim, is pending. See ECF 82, 107, 117.

   •   The Fair Maps Texas Action Committee plaintiffs (1:21-cv-1038) allege that the congres-
       sional, senate, and house redistricting legislation “discriminate[s] against voters of color by
       failing to create additional districts that afford opportunities for voters of color to elect their
       candidates of choice, whether by single racial or ethnic group or by voting in coalition….”
       Fair Maps Compl. ¶83, No. 1:21-cv-1038, ECF 1. The complaint describes “imbalance in rep-
       resentation” and states that “Black, Latino, and AAPI voters continue to be proportionality
       [sic] underrepresented in the Texas legislature and congressional delegation.” Id. ¶¶85, 110,
       112, 147; but see 52 U.S.C. §10301(b) (“nothing in this section establishes a right to have mem-
       bers of a protected class elected in numbers equal to their proportion in the population”). The
       complaint concludes that congressional, senate, and house redistricting legislation violates §2,
       including for failure to maximize majority-minority districts and for failure to create coalition
       districts, as well as the Fourteenth and Fifteenth Amendments. Id. ¶¶151-61. Defendants’ mo-
       tion to dismiss the complaint, including for lack of standing and failure to state a claim, is
       pending. See ECF 181, 191, 193.

   •   Plaintiff Fischer (3:21-cv-306) challenges only CD 35 as a violation of §2 and the Equal
       Protection Clause. See Fischer First-Am. Compl. ¶¶92, 139, ECF 217 (“Plaintiff is only chal-
       lenging the enacted configuration of CD 35 in SB 6.”). Defendants’ motion to dismiss Rep.
       Fischer’s amended complaint is pending. ECF 233, 260, 267.

   •   The Escobar plaintiffs (3:22-cv-22) challenges neighboring CD 16 and 23 as violating §2 and
       the Equal Protection Clause. Escobar Compl., No. 3:22-cv-22, ECF 1. After Defendants
       moved to dismiss the complaint, plaintiffs filed a motion to amend. ECF 223, 229. The motion
       has been granted but the amended complaint has not yet been re-docketed. Defendants have
       until May 18, 2022, to answer or move to dismiss.

   •   Plaintiff-Intervenors allege that CD9, 18, and 30 violate §2 and the Equal Protection Clause
       based in part on allegations of retrogression. Johnson First-Am. Compl., ECF 209. Defend-
       ants have moved to dismiss, including because the complaint does not allege that Black voters
       are unable to elect their candidate of choice in those congressional districts. ECF 225.

       Until late last month, there was relatively little discovery of third-party legislators by the private

plaintiffs. A few weeks ago, the LULAC plaintiffs issued subpoenas for legislative documents, and

subpoena recipients will be producing non-privileged, responsive documents and invoking applicable




                                                     3
   Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 5 of 13




privileges for others. The NAACP has since issued similar subpoenas. Then last week—before the

ink was dry on the document subpoenas and after the United States issued deposition subpoenas for

Texas House Representatives Ryan Guillen, Brooks Landgraf, and John Lujan—the private plaintiffs

issued their own deposition subpoenas for the same representatives. See Exs. A-C.

        Counsel have met and conferred. Counsel for the legislators asked what basis there could be

for deposing a sitting legislator now and whether plaintiffs would be open to alternatives. See Ex. D

at 6-7 (5/9/22 email from J. DiSorbo). In response, Plaintiffs stated they believe depositions should

proceed on May 24 and 25 even without a ruling from this Court, unless this Court issues an interim

stay. Id. at 2 (5/12/22 email from T. Meehan). Plaintiffs further stated that they plan to ask legislators

otherwise-privileged questions about what motivated them during the redistricting process, about the

Gingles standard, and other topics that plaintiffs could not enumerate during the parties’ meet and

confer. Id. at 1-2 (5/12/22 email from T. Meehan; 5/13/22 email from D. Fox). Meanwhile, Plaintiffs

filed a brief in support of the United States’ opposition to the legislators’ motion to quash the United

States’ deposition subpoenas. See generally Pls. Opp’n, ECF 272. In that brief, they distinguished their

intent claims from the United States’ effect claims, endorsed a non-binding multi-factor balancing test

that has evaded appellate review, and suggested that an adverse inference would be appropriate if

legislators invoke privilege. Id. at 4-5, 7-11.

                                                  ARGUMENT

        The legislators incorporate by reference the arguments made in their pending motion (ECF

259) and reply brief (ECF 277) regarding the United States’ deposition subpoenas. As an initial matter,

the legislators request interim relief postponing the depositions to allow for adequate time to brief and

decide the pending motions. See Reply 2-3. Plaintiffs’ insistence that depositions proceed even without

a ruling from this Court transgresses Rule 45’s requirement that they take reasonable steps to avoid

undue burden and cost and risks mooting the issues pending before this Court. Id.



                                                     4
     Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 6 of 13




        On the merits, the legislators have not asked for a categorical ban on legislator depositions for

cases of all types and in all circumstances, contrary to plaintiffs’ arguments (Pls. Opp’n 3-4). The

legislators have instead moved for orders quashing or modifying the subpoenas in light of the partic-

ular circumstances here. See Reply 1-2. Among other reasons, plaintiffs must pursue alternative means

of discovery before attempting the “extraordinary” step of deposing sitting legislators. Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 268 (1977); see, e.g., Austin Lifecare, Inc. v. City of Austin,

2012 WL 12850268, at *2 (W.D. Tex. Mar. 20, 2012) (quashing deposition subpoenas based, in part,

because “Plaintiffs have alternative methods for discovering the information they seek,” including the

public record); see In re Perry, 60 S.W.3d 857, 861-62 (Tex. 2001) (relying on Arlington Heights for re-

quirement that “all other available evidentiary sources must first be exhausted”). Plaintiffs’ first move

cannot be legislator depositions. It remains to be decided whether certain plaintiffs have standing or

whether certain plaintiffs have even stated a claim; Defendants haven’t even had an opportunity to

move to dismiss recently amended pleadings, supra, let alone know what the rules will be for plaintiffs’

redistricting claims after the Supreme Court decides Merrill v. Milligan, No. 21-1086. See Mot. 7-9. At

this time, quashing the deposition subpoenas altogether would be consistent with the practice of other

courts abiding by the Supreme Court’s privilege precedents. Id. at 10-17. At the very least, should any

depositions proceed, the legislators request a protective order prohibiting deposing legislators about

privileged matters, including matters beyond the public record. Id. at 9-10.

I.      Intent claims do not trump legislative privilege.

        Plaintiffs contend that their allegations of intentional discrimination (as compared to the

United States’ effects-only claim) allow them to probe what motivated the legislators: “In intent cases,

knowledge about what motivated a decisionmaker at the time of the decision is relevant and subject

to discovery.” Pls. Opp’n 4; see also Ex. D at 2 (5/12/22 email from T. Meehan). They wrongly suggest




                                                       5
    Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 7 of 13




that refusal to answer questions about intent warrants an adverse inference. Pls. Opp’n 5.2 And they

wrongly contend that if privilege were to bar intent-based inquiries, that “would effectively bar any

court from ‘ever accurately and effectively determin[ing] intent.’” Id. (quoting Op. 50 n.14, ECF 258).

        A. Legislative privilege no less applies to intentional discrimination claims than it does to other

claims. The privilege applies with “full force” even in cases where legislators’ motives are at the “fac-

tual heart” of plaintiffs’ claims. Hubbard, 803 F.3d at 1310-11, 1315 (quashing subpoenas). Plaintiffs’

“categorical exception whenever a constitutional claim directly implicates the governments intent …

would render the privilege ‘of little value.’” Lee, 908 F.3d at 1188; see Am. Trucking, 14 F.4th at 90

(describing “inherent challenges of using [deposition] evidence of individual lawmakers’ motives to

establish that the legislature as a whole enacted [law] with any particular purpose”). That is consistent

with the Supreme Court’s repeated observation that courts generally must “equate[]” protections af-

forded to federal legislators with protections afforded to state legislators for constitutional claims

brought under §1983, Plaintiffs’ constitutional claims included. Sup. Ct. of Va. v. Consumers Union, 446

U.S. 719, 732-33 (1980); see Bogan v. Scott-Harris, 523 U.S. 44, 49 (1998). While legislative privilege must

bend for federal criminal prosecutions, the Supreme Court has never qualified state legislators’ privilege as

plaintiffs would in a civil matter such as this one. See Mot. 13-14 (discussing Gillock).

        B. In these proceedings already, this Court rejected that privilege must bend to claims of in-

tentional discrimination. The Brooks plaintiffs asked this Court to preliminarily enjoin SD 10 based

on intentional discrimination claims. See Mot. for Prelim. Inj., ECF 39 at 24-43. At the hearing, this

Court ruled that a state senator could testify about that “within the public record,” but anything



2   Fully explained in the legislators’ reply brief in support of the motion to quash the United States’ deposition
    subpoenas, any adverse inference would be legal error. Reply 8-10; see, e.g., In re WR Grace & Co., 729 F.3d
    332, 348 (3d Cir. 2013) (“A negative inference should not be drawn against Grace merely because it chose
    to protect the privacy of attorney-client communications.”); Jaffee v. Redmond, 51 F.3d 1346, 1358 (7th Cir.
    1995) (remanding for new trial after erroneous adverse inference instruction).




                                                        6
    Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 8 of 13




beyond the public record would entail a waiver of legislative privilege. PI Tr. 152:1-5 (Vol. 5) (“Senator

Huffman will be allowed to testify to everything within the public record; and if she goes outside the

public record, she will waive her privilege.”). The Court sustained objections to questions about the

senator’s mental impressions or opinions regarding legislation, or what otherwise motivated or in-

formed her or others during the legislative process. See, e.g., PI Tr. 152:2-7 (Vol. 6); PI Tr. 25:6-10

(Vol. 7); PI Tr. 29:6-20 (Vol. 7).

         That ruling is consistent with Supreme Court precedent and the approaches taken by the

courts of appeals in similar circumstances. See Tenney, 341 U.S. at 373-77; Dombrowski, 387 U.S. at 85;

see also In re Stone, 986 F.2d 898, 904 (5th Cir. 1993) (warning officials “could never do their jobs” if

subject to such discovery because they would be less willing to explore all options before them, lest

they “be subpoenaed for every case involving their agency”). For example, in a recent redistricting

challenge involving allegations of race-based intent, the Ninth Circuit followed its general rule that

legislators could not be deposed. See Lee, 908 F.3d at 1187-88. Similarly, the Eleventh Circuit refused

to require legislators to turn over privileged documents precisely because the legislators’ privileged sub-

jective intent could not be disentangled from the plaintiffs’ claim. See Hubbard, 803 F.3d at 1310-11;

accord Am. Trucking Ass’n, 14 F.4th at 91 (quashing deposition subpoenas); Biblia Abierta v. Banks, 129

F.3d 899, 905 (7th Cir. 1997) (“An inquiry into a legislator’s motives for his actions, regardless of

whether those reasons are proper or improper, is not an appropriate consideration for the court.”).3

         Plaintiffs disagree, based in part on a footnote in this Court’s preliminary injunction opinion.

See Pls. Opp’n 4-5. The Court recently said that it was “concerned about the scope of state legislative

privilege” because “[s]tate legislative privilege in this context raises serious questions about whether

this Court (or any court) could ever accurately and effectively determine intent.” Op. 50 n.14.


3   Plaintiffs have relied on the passing observation in Jefferson Community Health Care Centers that legislative
    privilege is strictly construed—inconsistent with Supreme Court precedent and straying from other appellate
    courts. That dictum does not require anything different of courts in the Fifth Circuit. See Reply 5-6.



                                                        7
    Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 9 of 13




        The Supreme Court has answered those concerns. As a starting point, even “[t]he claim of an

unworthy purpose does not destroy the privilege.” Tenney, 341 U.S. at 377. “The privilege would be

of little value” if legislators could be subject to “the hazard of a judgment against them based upon

… speculation as to motives.” Id. There are instead alternative means for probing legislative purpose,

detailed by the Supreme Court in Arlington Heights—a case also involving allegations of invidious in-

tent. 429 U.S. at 267-68. Those alternatives include “[t]he historical background of the decision,” the

“sequence of events leading up to the challenged decision,” or “legislative or administrative history”

including “contemporary statements by members of the decisionmaking body”—all materials from

the public record. Id. Importantly, the Supreme Court cautioned that proving legislative purpose did

not entail probing the minds of decisionmakers except in extraordinary circumstances: “In some ex-

traordinary instances, the members might be called to the stand to testify concerning the purpose of

the official action, although even then such testimony frequently will be barred by privilege.” Id. at 268 (emphasis

added); accord Lee, 908 F.3d at 1188 (“Arlington Heights itself also involved an equal protection claim

alleging racial discrimination—putting the government’s intent directly at issue—but nonetheless sug-

gested that such a claim was not, in and of itself, within the subset of ‘extraordinary instances’ that

might justify an exception to the privilege”). After all, such “judicial inquiries into legislative or exec-

utive motivation represent a substantial intrusion into the workings of other branches of government.”

Arlington Heights, 429 U.S. at 268 n.18. Simply put—the Supreme Court has already disclaimed that

testimony from legislators is necessary to a court’s truth-seeking mission regarding legislative purpose,

versus other more reliable alternatives.4


4   Plaintiffs have argued that Arlington Heights doesn’t mean what it says because the decision elsewhere notes
    that board members were in fact questioned in discovery. Pls. Opp’n 4. Arlington Heights does not specify
    whether such discovery entailed depositions, whether public officials challenged or appealed any such dis-
    covery orders, whether there was any privilege waiver, or other relevant factors including whether the cal-
    culus would have been different had state legislators been the target of discovery. But here’s what the
    Court’s decision does say: the district court in Arlington Heights “forbade questioning Board members about
    their motivation at the time they cast their votes.” 429 U.S. at 270 n.20. It is forbidden here too.



                                                         8
  Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 10 of 13




        There is good reason that any one legislator’s motivations or impressions are protected. The

probative value is weak at best, while the affront to federalism and comity is at its zenith. Evidence of

any one legislator’s intent cannot be conflated with the legislature’s purpose as a whole. See Brnovich v.

Democratic Nat’l Comm., 141 S. Ct. 2321, 2349-50 (2021); accord Am. Trucking, 14 F.4th at 90 (noting that

the “Supreme Court has warned against relying too heavily on such evidence” of “individual lawmak-

ers’ motives to establish that the legislature as a whole [acted] with any particular purpose”). For

“[w]hat motivates one legislator to make a speech about a statute,” let alone his internal thoughts and

impressions, “is not necessarily what motivates scores of others to enact it, and the stakes are suffi-

ciently high for [courts] to eschew guesswork.” United States v. O’Brien, 391 U.S. 367, 384 (1968). Evi-

dence of legislative purpose is instead divined from the public record, see Arlington Heights, 429 U.S. at

267-68, alongside the presumption that legislatures act in good faith, see Miller v. Johnson, 515 U.S. 900,

915 (1995); Abbott v. Perez, 138 S. Ct. 2305, 2324-25 (2018). Understood in that way, legislative privilege

helps ensure that litigation remains focused on that which motivated the legislature as a whole, con-

sistent with the obligation that courts not “strike down an otherwise constitutional statute on the basis

of an alleged illicit legislative motive” by one or a few. O’Brien, 391 U.S. at 383-84.

II.     The Court must reject Plaintiffs’ balancing test.

        Plaintiffs endorse the flawed balancing test employed by some district courts, which has largely

evaded appellate review. See Mot. 13-17. It has never been endorsed by the Supreme Court, nor em-

ployed by courts of appeals in analogous cases including the Ninth Circuit’s redistricting decision in

Lee. Illustrated by plaintiffs’ own application of that test, Pls. Opp’n 7-10, it is easily manipulated to

reduce privilege to a nullity. Plaintiffs’ balancing of benefits and burdens for deposing legislators looks

little different than the balancing that would occur under Rule 45 and other generally applicable federal




                                                    9
    Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 11 of 13




discovery rules.5 It makes no sense, in light of Tenney and progeny, that legislators would be entitled

no greater protection than any other target of third-party discovery.

         Plaintiffs, moreover, are wrong that Rodriguez, the district court decision first adopting the

nebulous multi-factored legislative privilege test, used it to justify legislative depositions. Pls. Opp’n

10. Exactly the opposite: the court emphasized that plaintiffs were “not seeking any depositions of

legislators or their staff.” 280 F. Supp. at 96 (emphasis added); see also id. (noting legislators had not

moved to dismiss). Even in Veasey v. Perry, the privilege dispute initially involved legislators’ docu-

ments, not depositions. 2014 WL 1340077, at *1 (S.D. Tex. Apr. 3, 2014). And in Perez, the Court

refused to apply Rodriguez in a way that pierced legislative privilege entirely, contrary to plaintiffs’ de-

mands here. See Mot. 14-15 & n.8. At this stage of the proceedings—with motions to dismiss yet to

be filed, with the Supreme Court currently considering the metes and bounds of redistricting claims,

and with all parties having failed to first exhaust other discovery alternatives, see Reply 2 n.3; Ex. D at

2 (5/12/22 email from T. Meehan)—it would be error on top of error to apply Rodriguez to justify

legislator depositions, let alone depositions exploring legislators’ motivations and impressions regard-

ing redistricting legislation.

                                                 CONCLUSION

         The legislators respectfully request that the Court issue an interim order postponing deposi-

tions pending resolution of these related motions. The legislators further request that the Court quash

or modify the subpoenas, or in the alternative enter a protective order.




5   Compare Rodriguez v. Pataki, 280 F. Supp. 2d 89, 101 (S.D.N.Y. 2003) (first factor considers “relevance of the
    evidence sought to be protected,”), with Fed. R. Civ. P. 26(b)(1) (limiting “scope of discovery” generally to
    “relevant” material); compare Rodriguez, 280 F. Supp. 2d at 101 (second factor considers “availability of other
    evidence” and third factor considers “‘seriousness’ of the litigation and the issues involved”), with Fed. R.
    Civ. P. 45(d)(1) (requiring parties to avoid undue burden or expense when subpoenaing third parties), and
    Fed. R. Civ. P. 26(b)(1) (considering “importance of the discovery in resolving the issues”).



                                                        10
Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 12 of 13



Date: May 13, 2022                 Respectfully submitted,

                                   /s/ Taylor A.R. Meehan
Adam K. Mortara*                   J. Michael Connolly
LAWFAIR LLC                        Taylor A.R. Meehan*
125 South Wacker, Suite 300        Frank H. Chang*
Chicago, IL 60606                  Jeffrey S. Hetzel*
Tel: (773) 750-7154                CONSOVOY MCCARTHY PLLC
mortara@lawfairllc.com             1600 Wilson Blvd., Suite 700
                                   Arlington, VA 22209
                                   Tel: (703) 243-9423
                                   mike@consovoymccarthy.com
                                   taylor@consovoymccarthy.com
                                   frank@consovoymccarthy.com
                                   jhetzel@consovoymccarthy.com

                                   Counsel for Reps. Guillen, Landgraf, and Lujan

                                   *Admitted pro hac vice

                                   /s/ Patrick K. Sweeten
KEN PAXTON                         PATRICK K. SWEETEN
Attorney General of Texas          Deputy Attorney General for Special Litigation
                                   Tex. State Bar No. 00798537
BRENT WEBSTER
First Assistant Attorney General   WILLIAM T. THOMPSON
                                   Deputy Chief, Special Litigation Unit
                                   Tex. State Bar No. 24088531

                                   JACK B. DISORBO
                                   Assistant Attorney General, Special Litigation Unit
                                   Tex. State Bar No. 24120804

                                   OFFICE OF THE ATTORNEY GENERAL

                                   P.O. Box 12548 (MC-009)
                                   Austin, Texas 78711-2548
                                   Tel.: (512) 463-2100
                                   Fax: (512) 457-4410
                                   patrick.sweeten@oag.texas.gov
                                   will.thompson@oag.texas.gov
                                   jack.disorbo@oag.texas.gov

                                   Counsel for Reps. Guillen, Landgraf, and Lujan
                                    and Defendants




                                          11
  Case 3:21-cv-00259-DCG-JES-JVB Document 278 Filed 05/13/22 Page 13 of 13



                                 CERTIFICATE OF CONFERENCE

   I certify that counsel conferred with counsel for plaintiffs regarding the subject of this motion.

Counsel for plaintiffs indicated they oppose any motion to quash or modify the subpoena, which

confirms opposition to the relief sought here.

                                                 /s/ Taylor A.R. Meehan
                                                 TAYLOR A.R. MEEHAN


                                    CERTIFICATE OF SERVICE

   I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on May 13, 2022, and that all counsel of record were served by CM/ECF.

                                                 /s/ Taylor A.R. Meehan
                                                 TAYLOR A.R. MEEHAN




                                                   12
